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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

  AMO DEVELOPMENT, LLC,        )
  AMO MANUFACTURING USA, LLC )
  and AMO SALES AND SERVICE,   )
  INC.,                        )
                               )
               Plaintiffs,     )
                               )
        v.                     ) C.A. No. 20-842 (CFC)
                               )
  ALCON VISION, LLC,           )
  ALCON LABORATORIES, INC. and )
  ALCON RESEARCH, LLC,         )
                               )
               Defendants.     )
  ALCON INC., ALCON RESEARCH, )
  LLC, and ALCON VISION, LLC, )
                              )
               Counterclaim   )
               Plaintiffs,    )
                              )
           v.                 )
                              )
  AMO DEVELOPMENT, LLC,       )
  AMO MANUFACTURING USA, LLC, )
  AMO SALES AND SERVICE, INC. )
  and JOHNSON & JOHNSON       )
  SURGICAL VISION, INC.,      )
                              )
               Counterclaim   )
               Defendants.    )


                   JOINT STIPULATION OF DISMISSAL
                  OF ALL CLAIMS AND COUNTERCLAIMS
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        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and an

  agreement by and between Plaintiffs and Counterclaim Defendants AMO

  Development, LLC, AMO Manufacturing USA, LLC, AMO Sales and Service,

  Inc. and Johnson & Johnson Surgical Vision, Inc. (collectively, “J&J”) and

  Defendants and Counterclaim Plaintiffs Alcon Inc., Alcon Vision, LLC, Alcon

  Laboratories, Inc. and Alcon Research, LLC (collectively “Alcon,” and together

  with J&J, “the Parties”), and subject to the approval of the Court, the Parties

  hereby stipulate and agree that all of the Parties’ respective claims and

  counterclaims asserted in this action are dismissed with prejudice and that each

  Party shall bear its own attorneys’ fees, costs, and expenses. The Court retains

  jurisdiction to enforce the Parties’ written agreement.




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  MORRIS, NICHOLS, ARSHT & TUNNELL LLP SHAW KELLER LLP

  /s/ Jack B. Blumenfeld                      /s/ John W. Shaw
  __________________________________          ____________________________
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  AMO Manufacturing USA, LLC, AMO             Attorneys for Defendants and
  Sales and Service, Inc. and                 Counterclaim Plaintiffs Alcon Inc.,
  Johnson & Johnson Surgical Vision, Inc.     Alcon Vision, LLC,
                                              Alcon Laboratories, Inc. and
                                              Alcon Research, LLC

  February 13, 2023




        SO ORDERED this _____ day of_____________, 2023,




                                       __________________________________
                                       The Honorable Colm F. Connolly
                                       Chief, United States District Judge




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